         Case: 1:17-cv-03543 Document #: 27 Filed: 08/17/17 Page 1 of 7 PageID #:77

    FIL ED                   JJR
      7/2017
      8/1
                        N       UNITED STATES DISTRICT COURT
   THOMA.SDG . BRUTO      RT
                       COUFOR
           IS T R IC T          THE NORTHERN DISTRICT OF ILLINOIS
CLERK, U.S
                                      EASTERN DIVISION

    CORDERO HIGHTOWER,                    )
                                          )                   No. 17-CV-3543
          Plaintiff,                      )
                                          )
    v.                                    )                   Judge Wood
                                          )
    CITY OF CHICAGO;                      )
    STEPHEN BERANEK; CLAUDE DIEZ;         )
    LISA EITEL; JAMES KOSKI; HAKEEM QUAZI )
    NICOLE THOMPSON; JOHN GENOVA;         )
    TIMOTHY DODERO; ANGEL CORREA;         )
    THOMAS MALONEY; EDUARDO CORNEJO )                         Jury Demanded
    RUSSELL RACHUBINSKI; ANDREW           )
    LEWANDOWSKI; JOHN SZCZESNIAK;         )
    JOHN DZIELSKI                         )
          Defendants.                     )

                                  FIRST AMENDED COMPLAINT

            NOW COMES the plaintiff Cordero Hightower by his attorneys Brian W. Coffman,

    Coffman Law Offices, Mark F. Smolens, Richard R. Mottweiler, and Nicole L. Barkowski,

    Mottweiler and Smolens, LLP, and as his first amended complaint states the following:

            1.      This action seeks damages under federal law, Title 42 U.S.C. Section 1983,

    for defendants’ actions of July 31, 2016, which violated plaintiff’s rights under the Fourth

    and Fourteenth Amendments to the United States Constitution.

            2.      The jurisdiction of this Court is invoked pursuant to Title 28 U.S.C. Sections

    1331 and 1343. Venue in this District is predicated upon Title 28 U.S.C. Section 1391(b)

    as all events giving rise to the claims asserted herein took place within this Northern

    District of Illinois.

            3.      At all times material hereto, the plaintiff, Cordero Hightower, was a resident

                                                   1
     Case: 1:17-cv-03543 Document #: 27 Filed: 08/17/17 Page 2 of 7 PageID #:78



of the City of Chicago, County of Cook, State of Illinois, in this District, and entitled to be

free from unlawful search and seizure, and the malicious conduct of police officers and

firefighters/EMTs/paramedics employed by the municipal defendant City of Chicago.

       4.     At all times material hereto defendants Chicago police officers, Stephen

Beranek (Star 6356), Claude Diez (Star 6153), Lisa Eitel (Star 2075), James Koski (Star

11105), Hakeem Quazi (Star 4002), and Nicole Thompson (Star 1091), were sworn law

enforcement officers employed by the City of Chicago. At all times material hereto the

said individual defendant police officers were acting under color of state law and within

the scope of their employment with the City of Chicago and its Police Department.

Defendant Chicago police officers are sued individually.

       5.     At all times material hereto defendants John Genova, Timothy Dodero, and

Angel Correa, were EMTs/paramedics employed by the City of Chicago. At all times

material hereto the said defendant EMTs/paramedics were acting under color of state law

and within the scope of their employment with the City of Chicago and its Fire

Department. Defendant EMTs/paramedics are sued individually.

       6.     At all times material hereto defendants Thomas Maloney, Eduardo Cornejo,

Russell Rachubinski, Andrew Lewandowski, John Szczesniak, and John Dzielski were

firefighters employed by the City of Chicago Fire Department. At all times material hereto,

the said defendant were acting under the color of state law and within the scope of their

employment with the City of Chicago and its Fire Department. Defendant firefighters are

sued individually.

       7.     The City of Chicago is an Illinois municipal corporation and body politic

located in Cook County, Illinois. At all relevant times hereto, the City of Chicago was the
                                               2
     Case: 1:17-cv-03543 Document #: 27 Filed: 08/17/17 Page 3 of 7 PageID #:79



employer of defendant police officers and firefighters/EMTs/paramedics involved in

varying degrees in the events at issue. The City of Chicago is named as a party defendant

in this litigation as a potential indemnitor for any compensatory damages awarded in this

case against its defendant employees.

                                       Common Facts

       8.     On July 31, 2016, at or around 10:50 pm, plaintiff, Cordero Hightower was

outside an apartment building located at 1400 N. Lake Shore Drive Chicago, Illinois

attempting to hail a taxi.

       9.     Shortly thereafter, Chicago police officer(s) approached plaintiff, and asked

plaintiff what he was doing.

       10.    Plaintiff informed the officer(s) that his girlfriend lived in an apartment at

1400 N. Lake Shore Drive, that he had a key to that apartment, and that he was

attempting to hail a taxi, but none of the taxis in the area would stop for him.

       11.    Shortly thereafter, additional City of Chicago police officers and

paramedics, John Genova, Timothy Dodero, and Angel Correa arrived on scene.

       12.    Around the same time, firefighters Thomas Maloney, Eduardo Cornejo,

Russell Rachubinski, Andrew Lewandowski, John Dzielski, and John Szczesniak also

came on scene.

       13.    Upon information and belief, there was discussion among the police

officers, paramedics and firefighters whether plaintiff would be taken to the hospital by the

paramedics, allegedly for medical treatment.

       14.    As a result of this discussion, defendant police officers, paramedics, and

firefighters, decided that plaintiff would be taken voluntarily or involuntarily to a hospital
                                               3
     Case: 1:17-cv-03543 Document #: 27 Filed: 08/17/17 Page 4 of 7 PageID #:80



for medical treatment.

        15.   Plaintiff declined medical treatment and went inside the building at 1400 N.

Lake Shore Drive.

        16.   Defendant police officers, paramedics, and firefighters followed plaintiff into

the building at 1400 N. Lake Shore Drive.

        17.   In an attempt to forcibly remove plaintiff, against his will and without his

consent, police officers, paramedics, and firefighters placed plaintiff in a chokehold,

tackled plaintiff to the ground, kicked plaintiff in the head, and struck plaintiff about his

body.

        18.   Although purportedly being removed from the building for his own

“well-being,” plaintiff Hightower was forcibly handcuffed by the defendants.

        19.   Additionally, Lisa Eitel (Star 2075), a female police officer in a white shirt,

shocked plaintiff with a stun gun at least four times.

        20.   Plaintiff was transported to Northwestern Hospital via ambulance where he

was treated for the injuries that he sustained by defendant police officers, paramedics,

and firefighters.

        21.   At no time as the result of his conduct on July 31, 2016, while in the

presence of the defendants was plaintiff Cordero Hightower ever charged with violating

any laws or statutes of the State of Illinois, or ordinances of the City of Chicago.

        22.   By reason of the above-described acts and omissions of the defendants

plaintiff sustained injuries, humiliation, and indignities, and suffered great mental and

emotional pain and suffering, all to his damage.

        23.   The aforementioned acts of the defendant police officers, paramedics, and
                                               4
     Case: 1:17-cv-03543 Document #: 27 Filed: 08/17/17 Page 5 of 7 PageID #:81



firefighters were willful, wanton, malicious, oppressive, and done with reckless

indifference to and/or callous disregard for plaintiffs’ rights and justify the awarding of

exemplary and punitive damages.

         24.   By reason of the above-described acts and omissions of the individual

defendants, plaintiff was required to retain an attorney to institute, prosecute and render

legal assistance to him in the within action, so that he might vindicate the loss and

impairment of his rights. By reason thereof, plaintiffs request payment by defendants of a

reasonable sum for attorneys’ fees pursuant to 42 U.S.C. §1988, the Equal Access to

Justice Act, or any other provision set by law.

                           Fourth Amendment (§ 1983 claims)

         25.   Plaintiff adopts and re-asserts the allegations of paragraphs one through

twenty four, above, as and for the allegations of this paragraph twenty five.

         26.   At all times relevant hereto, plaintiff had the right to be free from

unreasonable seizures and excessive force from state actors such as defendant police

officers, paramedics, and firefighters, as protected by the Fourth and Fourteenth

Amendments to the Constitution of the United States.

         27.   As described above, defendant police officers, paramedics, and firefighters

violated plaintiff’s right to be free from unreasonable seizures in that the seizure and

arrest of plaintiff by police officers, paramedics, and firefighters, was without any legal

cause.

         28.   As described above, defendant police officers, paramedics, and firefighters

violated plaintiff’s right to be free from unreasonable seizures and excessive force with

their concerted unlawful and malicious physical abuse in the manner in which they seized
                                               5
     Case: 1:17-cv-03543 Document #: 27 Filed: 08/17/17 Page 6 of 7 PageID #:82



plaintiff and forcibly removed Cordero Hightower from 1400 N. Lake Shore Drive.

       29.    As a result of their concerted unlawful and malicious physical abuse of

Cordero Hightower, defendant police officers, paramedics, and firefighters intentionally,

or with deliberate indifference and callous disregard of plaintiffs’ rights, deprived him of

his right to be free from unreasonable seizures and excessive force in violation of the

Fourth and Fourteenth Amendments to the Constitution of the United States and 42

U.S.C. §1983.

       30.    These actions by the defendants proximately caused plaintiffs to suffer

physical injuries, pain, humiliation, and emotional trauma and suffering.

       31.    On information and belief, certain of the defendant City of Chicago police

officers, paramedics, and firefighters were present the during the events alleged above,

but played no personal role in the actual use of force on the plaintiff, and these individuals

had a reasonable opportunity to prevent the harm done to and could and should have

intervened to prevent the individual defendant’s unjustified and excessive use of force.

As a result of that failure to intervene, Cordero Hightower suffered pain and injury, as well

as emotional distress.

       32.    The aforementioned acts of the defendant police officers, paramedics, and

firefighters were willful, wanton, malicious, oppressive, and done with reckless

indifference to and/or callous disregard for plaintiffs’ rights and justify the awarding of

exemplary and punitive damages.




                                              6
    Case: 1:17-cv-03543 Document #: 27 Filed: 08/17/17 Page 7 of 7 PageID #:83



       WHEREFORE, plaintiff respectfully request that judgment be entered in his favor,

and that compensatory damages, punitive damages (against the individual defendants)

be awarded in an amount to be determined by the jury, plus an award to the plaintiff

pursuant to Title 28 U.S.C. § 1988 for attorney's fees and costs, in addition to any other

relief from this Court deemed just and proper.



                                                 /s/ Mark F. Smolens
                                                 One of the attorneys for plaintiff




RIAN W. COFFMAN #6285942
COFFMAN LAW OFFICES
2615 N. Sheffield
Suite #1
Chicago, IL 60614
773-348-1295
bcoffmanlaw@gmail.com

MARK F. SMOLENS #6190482
RICHARD R. MOTTWEILER #3123509
NICOLE L. BARKOWSKI #6295834
MOTTWEILER & SMOLENS
1627 Colonial Parkway
Inverness, IL 60067
ryansmolensjones@hotmail.com
tcblaw@aol.com

                                             7
